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 1
 2                                UNITED STATES DISTRICT COURT
 3                                        DISTRICT OF NEVADA
 4
 5   UNITED STATES OF AMERICA,                 )
                                               )
 6                     Plaintiff,              )                  Case No. 2:17-cr-00001-JAD-CWH
                                               )
 7   vs.                                       )                  ORDER
                                               )
 8   FRANCISCO RUI DE ALENCAR MENDES           )
     FILHO,                                    )
 9                                             )
                       Defendant.              )
10   __________________________________________)
11          Presently before the court is the government’s Motion to Strike Defendant Filho’s Notice of
12   Assertion of Right to be Present in Court Unshackled (ECF No. 200), filed on June 12, 2017.
13   Defendant did not file a response.
14          In United States v. Sanchez-Gomez, the Ninth Circuit Court of Appeals found that “[b]efore
15   a presumptively innocent defendant may be shackled, the court must make an individualized
16   decision that a compelling government purpose would be served and that shackles are the least
17   restrictive means for maintaining security and order in the courtroom.” United States v.
18   Sanchez-Gomez, 859 F.3d 649, 661 (9th Cir. 2017). The court reasoned that this right “respects our
19   foundational principle that defendants are innocent until proven guilty.” Id.
20          Defendant relied on Sanchez-Gomez in filing his “Notice of Assertion of Right to be Present
21   in Court Unshackled.” (Notice (ECF No. 199).) As required by Sanchez-Gomez, the court will
22   “decide whether the stated need for security outweighs the infringement on a defendant’s right.”
23   Id. at 666. The court will announce its individualized determination regarding shackling either
24   before or at the commencement of Defendant’s next court appearance. Further, the court will deny
25   the government’s motion to strike Defendant’s notice. Requiring Defendant to file a motion to be
26   presented in court unshackled would place the burden on a defendant to establish that he should not
27   be shackled and would effectively disregard an individual’s constitutional “right to be free from
28   unwarranted restraints.” See id at 660.
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 1          IT IS THEREFORE ORDERED that the government’s Motion to Strike Defendant Filho’s
 2   Notice of Assertion of Right to be Present in Court Unshackled (ECF No. 200) is DENIED.
 3
 4          DATED: November 2, 2017
 5
                                               ______________________________________
 6                                             C.W. Hoffman, Jr.
                                               United States Magistrate Judge
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